Case 2:20-cv-05040-DFM Document 24 Filed 10/14/21 Page 1 of 1 Page ID #:1245




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  2                                                                 JS-6
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  7                       UNITED STATES DISTRICT COURT
  8                      CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
  9
 10
 11   KELLY SHORTER,                                 ) No. 2:20-cv-05040-DFM
                                                     )
 12         Plaintiff,                               )
                                                     ) JUDGMENT
 13                v.                                )
                                                     )
 14                                                  )
      KILOLO KIJAKAZI,                               )
 15
      Acting Commissioner of                         )
      Social Security,                               )
 16                                                  )
                                                     )
            Defendant.                               )
 17
                                                     )
 18                                                  )
                                                     )
 19
 20         Having approved the parties’ joint stipulation to voluntary remand
 21   pursuant to sentence four of 42 U.S.C. § 405(g) and to entry of judgment, THE
 22   COURT ADJUDGES AND DECREES that judgment is entered for Plaintiff.
 23
 24
      Date: October 14, 2021               ____________________________________
 25
                                           HON. DOUGLAS F. MCCORMICK
 26                                        United States Magistrate Judge
 27
 28




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